  Case 1:14-cv-00779-PJG ECF No. 213 filed 10/27/17 PageID.4015 Page 1 of 1



                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN


 DEBORAH K. MURPHY-DAVIDSON,                )
                                            )
        Plaintiff,                          )            Case No. 1:14-cv-00779
                                            )
 v.                                         )            Honorable Phillip J. Green
                                            )
 KENNETH J. STOLL, et al.,                  )
                                            )
        Defendants.                         )             JUDGMENT FOR COSTS
                                            )
 ________________________________




       In accordance with the order entered this date:

       IT IS ORDERED AND ADJUDGED that defendants shall recover $935.66 in

costs from plaintiff.

       DONE AND ORDERED this 27th day of October 2017.



                                                    /s/ Phillip J. Green
                                                    PHILLIP J. GREEN
                                                    United States Magistrate Judge
